This is a companion case to the appeal of Laura H. Cristy in the above condemnation proceedings, in which Mr. Justice SHARPE wrote for the Court for reversal in an opinion handed down December 2, 1946. See In re Memorial Hall Site (City ofDetroit v. Cristy), ante, 215. The first question urged in the instant case for reversal is the same as in the CristyCase, namely, that the court erred in excluding proof of the 1945 assessed valuation. In the present case this applies to parcel No. 15. In the above case we have held that this testimony should have been admitted. Real estate is supposedly assessed at its true cash value. The Detroit city charter, title 6, chap. 2, § 1, so requires. The city *Page 362 
fixed a current 1945 assessed valuation for parcel No. 15 as the basis for obtaining tax money for governmental purposes. The city now seeks to obtain the land itself, for public purposes. While the 1945 assessed valuation does not determine with finality the fair market value in this condemnation case, it does have a material bearing on the issue as to what is the 1945 fair market value of the property. When offered by the defendants in condemnation proceedings, the assessed valuation for the current year placed by the city on the property in question is in the nature of an admission against interest. Refusal to admit this proof when offered by the defendants was prejudicial to them and the award in this case must be set aside.
Counsel for opposite parties rely on two different decisions here which they claim are in conflict. Mr. Justice SHARPE, in the companion (Cristy) case, quotes from Chamberlin v. Wagar,272 Mich. 594, 598, as follows:
"While the amount property is assessed at is not determinative of its true worth, it nevertheless has some probative force."
Counsel for plaintiff rely on O'Donnell v. Oliver IronMining Co., 273 Mich. 27, 39, where the Court said:
"For tax purposes the property was assessed for $3,650although this is not proof of real value."
When read in connection with the context, the apparent inconsistency between these statements disappears. In both cases, proof of assessed valuation was received and the assessed values were considered, along with other testimony, in determining the true cash or market value. Although the question of admissibility apparently was not raised, in *Page 363 
both cases a precedent was laid in holding that such testimony is admissible.
In the present case the principal witness, offered by the city to prove 1945 market values of each of the 28 parcels involved in the case, was a qualified real estate broker and appraiser of many years' experience in estimating real estate values in Detroit. He testified that in arriving at such values he took into consideration, among other things, the taxes. The court had previously ruled, following argument by counsel for the owners of the respective parcels, that none of such owners would be permitted to introduce evidence of the assessed valuation of the respective parcels, either for 1945 or for previous years. Counsel for the defendants were also excluded from cross-examining this witness as to the city's assessed valuation for 1944. Such cross-examination should have been permitted, for the purpose of testing the credibility of the witness. Counsel for defendants also attempted to cross-examine this witness as to the city's assessed valuations for the preceding 20 years. He was not the city assessor and there was no indication that he had anything to do with assessing the property in question for taxes. The record shows that counsel agreed that the assessed valuation on parcel No. 15 ranged in successive years from $10,030 in 1925 to $3,830 in 1944, and that it was assessed for $4,050 in 1945. The comparison between the assessed valuations for 1944 and 1945 might well have been considered a proper subject for such cross-examination, within the discretion of the court. It was not error to exclude the defendants from placing before the jury the assessed valuations beginning in 1925, to be used in cross-examination. The question for consideration by the jury was as to the value of parcel No. 15 in 1945, not for the previous 20 years. Proof *Page 364 
of assessed valuations as far remote as 1925 and the ensuing years would necessarily open debate as to changed conditions, nation-wide depression or prosperity, inflation or depreciation of values for many reasons which would not have any material relevancy to the issue as to the fair market value in 1945. Such testimony is considered too remote to have any material probative value. It was not error for the court to refuse to allow it for the purpose of cross-examination. For the same reason, the court did not err in excluding reference to an appraisal made in 1924 by a local committee of the Detroit real estate board.
Appellants also claim that the court erred in excluding proof of a bona fide offer to purchase the property. A witness for appellants was asked:
"What discussions have you had with prospective purchasers with respect to this particular parcel?"
This would have been hearsay. No proper foundation was laid for receiving any testimony of a bona fide offer to purchase. Cityof Kalamazoo v. Balkema, 252 Mich. 308. The testimony as it was offered was inadmissible.
Appellants also attempted to offer in evidence a transcript of probate proceedings showing who owned the property in 1927, mainly for the purpose of showing an appraisal of the property in probate court in 1927. There was no dispute as to ownership, and the transcript was properly excluded for reasons hereinbefore stated.
For the reason given in the Cristy Case, supra, the award is set aside and a new trial granted, with costs to appellants.
CARR, C.J., and BUTZEL, BUSHNELL, SHARPE, REID, NORTH, and DETHMERS, JJ., concurred. *Page 365 